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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

YVONNE GRAHAM,

      PLAINTIFF,

v.                                                   CASE NO.: CV-08-J-1129-NE

DELTA GROUP, LLC a/d/b/a JOSEPH,
ORTIZ & EPSTEIN, LLC a/d/b/a
FORTIS FINANCIAL GROUP,

      DEFENDANTS.

                            DEFAULT JUDGMENT

      This cause coming before the court on the plaintiff’s motion for entry of default

judgment against defendant (doc. 15), the court finds that a default was entered

against the defendant on September 26, 2008 (doc. 14), and defendant has failed to

appear or defend.

      It is therefore ORDERED by the court that judgment by default is entered in

favor of the plaintiff and against the defendant on all counts of the plaintiff’s

complaint.

      The plaintiff having submitted the affidavit of Yvonne Graham in support of

her claim for damages and attorneys fees, the court finds as follows:

      The plaintiff is entitled to recover from the defendant the sum of $10,000.00

as compensatory damages for defendant’s violations of the Fair Debt Collection
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Practices Act. The plaintiff is further entitled to recover the sum of $1,000.00 as

statutory damages under the Fair Debt Collection Practices Act.

       It is therefore ORDERED, ADJUDGED and DECREED that the plaintiff

shall have and recover of the defendant the sum of $11,000.00 in statutory and

compensatory damages.

       The court further finding that the plaintiff’s request for attorney’s fees is

reasonable, the plaintiff is entitled to recover the sum of $700.00 as a reasonable

attorney’s fee incurred in the prosecution of this action.

       It is further ORDERED, ADJUDGED and DECREED that the plaintiff shall

have and recover from the defendant the sum of $700.00 as reasonable attorney’s fees

in this action.

       Costs are hereby taxed against the defendant.

       DONE and ORDERED this the 5th day of November, 2008.




                                              INGE PRYTZ JOHNSON
                                              U.S. DISTRICT JUDGE
